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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF MASSACHUSETTS

Case number (if known)                                                        Chapter you are filing under:
                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12

                                                                                 Chapter 13                                        Check if this an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                               12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Scott                                                            Rachel
     your government-issued        First name                                                       First name
     picture identification (for
     example, your driver's        Richard                                                          Renee
     license or passport).         Middle name                                                      Middle name
     Bring your picture
     identification to your
                                   Wehmeyer                                                         Wehmeyer
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-1618                                                      xxx-xx-8745
     Individual Taxpayer
     Identification number
     (ITIN)




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Debtor 1   Scott Richard Wehmeyer
Debtor 2   Rachel Renee Wehmeyer                                                                      Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EINs                                                          EINs




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 2 Russell Hill Road                                           139 Shawn Avenue
                                 Ashburnham, MA 01430                                          Gardner, MA 01440
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Worcester                                                     Worcester
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any               have lived in this district longer than in any other
                                        other district.                                                district.

                                        I have another reason.                                         I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




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Debtor 2    Rachel Renee Wehmeyer                                                                         Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                Chapter 7
                                     Chapter 11
                                     Chapter 12

                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                                          Worcester,
                                              District    Massachusetts                 When     4/30/15                Case number      15-40871
                                                          Worcester,
                                              District    Massachussetts                When     2/15/12                Case number      12-40534
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                         this bankruptcy petition.




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Debtor 1    Scott Richard Wehmeyer
Debtor 2    Rachel Renee Wehmeyer                                                                          Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
     If you have more than one                 Number, Street, City, State & ZIP Code
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).
                                               Code.

                                      Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




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Debtor 1    Scott Richard Wehmeyer
Debtor 2    Rachel Renee Wehmeyer                                                                      Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




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                                                               United States Bankruptcy Court
                                                                     District of Massachusetts
            Scott Richard Wehmeyer
 In re      Rachel Renee Wehmeyer                                                                  Case No.
                                                                                 Debtor(s)         Chapter    13




                                               VERIFICATION OF CREDITOR MATRIX


The above-named Debtors hereby verify that the attached list of creditors is true and correct to the best of their knowledge.



 Date: May 10, 2018                                                   /s/ Scott Richard Wehmeyer
                                                                      Scott Richard Wehmeyer
                                                                      Signature of Debtor

 Date: May 10, 2018                                                   /s/ Rachel Renee Wehmeyer
                                                                      Rachel Renee Wehmeyer
                                                                      Signature of Debtor




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                      AOL Member Services
                      PO Box 65101
                      Sterling, VA 20165-8810

                      APS Medical Billing Specialists
                      2527 Cranberry Highway
                      Wareham, MA 02571

                      Bank of America
                      PO Box 25118
                      Tampa, FL 33622-5118

                      Central MA Oral Surgery
                      80 Erdman Way, Suite 201
                      Leominster, MA 01453

                      Central MA Oral Surgery/Peter
                      c/o Peter Roberts & Associates
                      231 E. Main Street
                      Suite 201
                      Milford, MA 01757

                      Central Mass Imaging
                      2527 Cranberry Highway
                      Wareham, MA 02571-1046

                      Chair City Family Medicine, PC
                      P.O. Box 843243
                      Boston, MA 02284-3243

                      Chair City Oil and Heating
                      525 Main Street
                      Gardner, MA 01440

                      Chex Systems, Inc.
                      Attn: Consumer Relations
                      7805 Hudson Rd. Suite 100
                      Saint Paul, MN 55125

                      City of Gardner Water Department
                      Room 114-City Hall
                      95 Pleasant Street
                      Gardner, MA 01440

                      Comcast Cable/Credit Collection
                      c/o Credit Collection Services
                      Two Wells Avenue
                      Dept. 9133
                      Newton, MA 02459

                      D'Ambrosio Eye Care, Inc.
                      74 Main Street
                      Gardner, MA 01440
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                  D'Ambrosio Eye/Revenue Management
                  Revenue Management Corp.
                  520 Main Street, Ste 202
                  Waltham, MA 02452-5549

                  Debt Recovery Soltions, LLC
                  P.O. Box 9018
                  Syosset, NY 11791

                  Debt Recovery Solutions, LLC
                  900 Merchants Concourse
                  Suite 106
                  Westbury, NY 11590-5114

                  Dish Network
                  P.O. Box 9033
                  Littleton, CO 80160

                  Dish Network
                  9601 South Meridian Blvd.
                  Englewood, CO 80112

                  First Financial Resources, Inc.
                  One Clarks Hill, Suite 302
                  Framingham, MA 01702-2463

                  General Electric Capital Corporation
                  260 Long Ridge
                  Box 8300
                  Stamford, CT 06902

                  GFA Federal Credit Union
                  229 Parker Street
                  P.O. Box 468
                  Gardner, MA 01440-0468

                  GFA Federal Credit Union/VLV
                  c/o VLV Professionals, Inc.
                  PO Box 1982
                  Salem, NH 03079

                  Gragil Associates Inc
                  29 Winter Street
                  Pembroke, MA 02359

                  Heywood Hospital
                  Att: Billing Department
                  PO Box 1021
                  Pembroke, MA 02359-1021

                  Heywood Hospital Bankruptcy
                  Att: Billing/Bankruptcy Dept.
                  242 Green Street
                  Gardner, MA 01440
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                  Heywood Hospital/Gragil
                  C/O Gragil Associates, Inc.
                  P.O. Box 1010
                  Pembroke, MA 02359-1010

                  Heywood Hospital/Gragil
                  c/o Gragil Associates, Inc.
                  29 Winter Street
                  Pembroke, MA 02359

                  Heywood Medical Group
                  242 Green Street, Annex Building
                  Gardner, MA 01440

                  Heywood Medical Group
                  P.O. Box 10021
                  Lewiston, ME 04243-9447

                  Heywood Medical Group/Stevens
                  C/O Stevens Business Service
                  92 Bolt Street, Ste. 1
                  P.O. Box 1233
                  Lowell, MA 01853

                  Internal Revenue Service
                  Bankruptcy Unit
                  P.O. Box 7346
                  Philadelphia, PA 19114-7346

                  Korde & Associates
                  900 Chelmsford Street, Suite 3102
                  Lowell, MA 01851

                  LVNV Funding
                  P.O. Box 10584
                  Greenville, SC 29603

                  LVNV Funding LLC
                  PO Boc 10497
                  Greenville, SC 29603

                  LVNV Funding LLC
                  PO Box 10497
                  Greenville, SC 29603

                  Mr. Cooper
                  8950 Cypress Waters Blvd.
                  350 Highland Drive
                  Coppell, TX 75019

                  National Grid
                  PO Box 960
                  Northborough, MA 01532-0960
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                  New England Inpatient Specialist
                  944 Washington Street #1
                  South Easton, MA 02375-1177

                  Portfolio Recovery Associates
                  Riverside Commerce Center
                  140 Corporate Blvd. Ste 1
                  Norfolk, VA 23502

                  Sunrise Credit Services, Inc.
                  c/o AT&T Mobility
                  P.O. Box 9100
                  Farmingdale, NY 11735-9100

                  TeleCheck Bankruptcy Department
                  PO Box 4451
                  Houston, TX 77210-4451

                  TeleCheck Services, Inc.
                  5251 Westheimer
                  Houston, TX 77056

                  Umass Memorial Health Alliance MRI
                  55 Christy's Drive
                  Brockton, MA 02301

                  Verizon Bankruptcy Dept.
                  P.O. Box 3037
                  Bloomington, IL 61702

                  Verizon Wireless Corespondence
                  PO Box 105378
                  Atlanta, GA 30348

                  Verizon Wireless/United
                  c/o United Collection Bureau, Inc
                  5620 Southwyck Blvd Ste 206
                  Toledo, OH 43614

                  Verizon/EOS
                  c/o EOA CCA
                  700 Longwater Drive
                  Norwell, MA 02061

                  Wachusett Radiology, Inc.
                  P.O. Box 350
                  Etna, NH 03750

                  Wachusett Radiology/CBCS
                  C/O CBCS
                  P.O. Box 164090
                  Columbus, OH 43216-1090
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                  Wachusett Radiology/Stevens
                  C/O Stevens Business Service
                  92 Bolt Street
                  Ste 1
                  Lowell, MA 01852

                  Webster Bank
                  PO Box 1809
                  Hartford, CT 06144-1809

                  Webster Bank, N.A.
                  609 West Johnson Avenue
                  CH 455
                  Cheshire, CT 06410

                  Webster Bank/PSH
                  c/o Partridge, Snow & Hahn LLP
                  2364 Post Road
                  Suite 100
                  Warwick, RI 02886
